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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                     MDL 2804
                                             )
OPIATE LITIGATION
                                             )
THIS DOCUMENT RELATES TO:                        Case No. 1:17-md-2804
                                             )
                                             )
Track 12: City of Rochester v. Purdue            Judge Dan Aaron Polster
                                             )
Pharma, L.P., No. 19-op-45853
                                             )
                                             )
Track 13: Lincoln County v. Richard
                                             )
Sackler, M.D. et al., Case No. 20-op-45069


    CERTAIN DEFENDANTS’ MOTION TO DISMISS FOR LACK OF PERSONAL
                          JURISDICTION

        Pursuant to Fed. R. Civ. P. 12(b)(2), Defendants UnitedHealth Group Incorporated, Optum,

Inc., OptumInsight, Inc., OptumInsight Life Sciences, Inc., OptumRx Discount Card Services,

LLC, Optum Perks, LLC, OptumHealth Care Solutions, LLC, OptumHealth Holdings, LLC, and

Optum Health Networks, Inc. move to dismiss Plaintiff the City of Rochester’s and Plaintiff

Lincoln County’s amended complaints (Dkts. 5296–2 and 5296–3) for lack of personal

jurisdiction.

Dated: March 21, 2024

Respectfully submitted,

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Health Networks, Inc.
